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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

SECURITIES AND EXCHANGE
COMMISSION,

 

Plaintiff,

v. Case No. 3:18-CV~252-
DPJ-FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

Defendants,

 

 

ORDER GRANTING PLAINTIFF’S MOTION TO UNSEAL RECORD
Plaintift` seeks an order lifting the seal previously put in place by this Couit.
Because the reasons for sealing the record have been resolved, the Court grants
Plaintiff’ s inotion. THEREFORE, IT IS ORDERED THAT the record in this case,
including the Complaint, the Civil Cover Sheet, and all timber docket entries, shall
no longer be subject to seal.

SO ORDERED.

Date: FZ!Z.ZOI? w

HON. KEITH BALL
UNITED STATES MAGISTRATE IUDGE

 

